Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 1 of 65 PageID #: 431
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 2 of 65 PageID #: 432
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 3 of 65 PageID #: 433
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 4 of 65 PageID #: 434
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 5 of 65 PageID #: 435
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 6 of 65 PageID #: 436
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 7 of 65 PageID #: 437
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 8 of 65 PageID #: 438
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 9 of 65 PageID #: 439
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 10 of 65 PageID #: 440
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 11 of 65 PageID #: 441
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 12 of 65 PageID #: 442
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 13 of 65 PageID #: 443
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 14 of 65 PageID #: 444
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 15 of 65 PageID #: 445
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 16 of 65 PageID #: 446
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 17 of 65 PageID #: 447
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 18 of 65 PageID #: 448
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 19 of 65 PageID #: 449
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 20 of 65 PageID #: 450
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 21 of 65 PageID #: 451
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 22 of 65 PageID #: 452
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 23 of 65 PageID #: 453
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 24 of 65 PageID #: 454
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 25 of 65 PageID #: 455
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 26 of 65 PageID #: 456
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 27 of 65 PageID #: 457
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 28 of 65 PageID #: 458
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 29 of 65 PageID #: 459
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 30 of 65 PageID #: 460
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 31 of 65 PageID #: 461
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 32 of 65 PageID #: 462
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 33 of 65 PageID #: 463
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 34 of 65 PageID #: 464
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 35 of 65 PageID #: 465
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 36 of 65 PageID #: 466
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 37 of 65 PageID #: 467
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 38 of 65 PageID #: 468
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 39 of 65 PageID #: 469
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 40 of 65 PageID #: 470
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 41 of 65 PageID #: 471
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 42 of 65 PageID #: 472
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 43 of 65 PageID #: 473
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 44 of 65 PageID #: 474
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 45 of 65 PageID #: 475
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 46 of 65 PageID #: 476
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 47 of 65 PageID #: 477
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 48 of 65 PageID #: 478
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 49 of 65 PageID #: 479
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 50 of 65 PageID #: 480
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 51 of 65 PageID #: 481
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 52 of 65 PageID #: 482
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 53 of 65 PageID #: 483
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 54 of 65 PageID #: 484
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 55 of 65 PageID #: 485
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 56 of 65 PageID #: 486
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 57 of 65 PageID #: 487
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 58 of 65 PageID #: 488
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 59 of 65 PageID #: 489
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 60 of 65 PageID #: 490
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 61 of 65 PageID #: 491
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 62 of 65 PageID #: 492
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 63 of 65 PageID #: 493
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 64 of 65 PageID #: 494
Case 1:06-cv-00069-FB-CLP Document 74-3 Filed 07/30/07 Page 65 of 65 PageID #: 495
